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JURY QUESTIONS
I. Questions about Liability

A. Local 556 Liability Questions

Question 1

Has Plaintiff Carter proved that Audrey Stone was acting in her
official capacity as then-President of Local 556 when she reported

Plaintiff Carter to Defendant Southwest?

Answer “Yes” or “No”

Answer: v LS

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Question 2

Has Plaintiff Carter proved that Defendant Local 556 violated the
Duty of Fair Representation owed to Plaintiff Carter?

Answer “Yes” or “No”

Answer: CS

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Question 3

Has Plaintiff Carter proved that Defendant Local 556 retaliated
against Plaintiff Carter for engaging in activity protected by the Railway

Labor Act?

Answer “Yes” or “No”

Answer: \ C5

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If you answered “yes” to Question 3, then answer Question 4. If you
answered “no” to Question 3, skip to Question 5d.

Question 4

Do you find that Defendant Local 556 has proved that Local 556
would have reported Plaintiff Carter to Defendant Southwest even if
Plaintiff Carter had not engaged in activity protected by the Railway
Labor Act?

Answer “Yes” or “No”

Answer: O

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Question 5

Has Plaintiff Carter proved that Defendant Local 556 unlawfully
discriminated against Plaintiff Carter by causing or attempting to cause
her discharge and that such cause or attempt was motivated by Plaintiff
Carter’s sincerely held religious observances, beliefs, or practices?

Answer “Yes” or “No”

Answer: _ V @ 35

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Question 6

Has Plaintiff Carter proved that Defendant Local 556 unlawfully
discriminated against Plaintiff Carter by treating her less favorably than
other employees and that such treatment was motivated by Plaintiff
Carter’s sincerely held religious observances, beliefs, or practices?

Answer “Yes” or “No”

Answer: es

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If you answered “yes” to Question I, then answer Question 7. If you
answered “no” to Question 1, skip to Question 8.

Question 7

Has Plaintiff Carter proved that Defendant Local 556 unlawfully
failed to accommodate Plaintiff Carter’s sincerely held religious beliefs,

practices, or observances?

Answer “Yes” or “No”

Answer: 25

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B. Southwest Liability Questions

Question 8

Has Plaintiff Carter proved that Defendant Southwest retaliated
against Plaintiff Carter for engaging in activity protected by the Railway

Labor Act?

Answer “Yes” or “No”

~ Answer: V2.5

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If you answered “yes” to Question 8, then answer Question 9. If you
answered “no” to Question 8, skip to Question 10.

Question 9

Do you find that Defendant Southwest has proved that Southwest
would have discharged Plaintiff Carter even if she had not engaged in
activity protected by the Railway Labor Act?

Answer “Yes” or “No”

Answer: _[NV O

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Question 10

Has Plaintiff Carter proved that Defendant Southwest unlawfully
discriminated against Plaintiff Carter by discharging her and that such
discharge was motivated by Plaintiff Carter's sincerely held religious

observances, beliefs, or practices?

Answer “Yes” or “No”

~ Answer: es

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Question 11

Has Plaintiff Carter proved that Defendant Southwest failed to
accommodate Plaintiff Carter’s sincerely held religious beliefs, practices,

or observances?

Answer “Yes” or “No”

Answer: y @5

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If you answered “yes” to Question 11, then answer Question 12. If
you answered “no” to Question 11, skip to Question 18.

Question 12

Do you find that Defendant Southwest has proved that any and all
accommodations in this case would have imposed an undue hardship on

Defendant Southwest?

Answer “Yes” or “No”

Answer: O

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II. Questions about Damages

The jury should award whatever recoverable damages it finds
that Plaintiff Carter proved each defendant caused. Should the
jury award damages against both defendants, the Court will
ensure that it avoids giving Plaintiff Carter more than a full
recovery of the damages the jury finds that she proved.

A. Local 556 Damages Questions.

If you answered “yes” to Question 2, then answer Question 12. If you
answered “yes” to Question 3 and “no” to Question 4, then answer
Question 13. If you answered “yes” to Question 5, then answer Question
13. If you answered “yes” to Question 6, then answer Question 18. If you
answered “yes” to Question 7, then answer Question 18.

Otherwise, skip to Question 14.
Question 13 — Lost Wages Damages Against Local 556

What sum of money, if paid now in cash, would fairly and
reasonably compensate Plaintiff Carter for lost wages and benefits, if
any, Defendant Local 556 caused Plaintiff Carter? Answer in dollars
and cents for the following items and none other.

1. Lost wages sustained between March 14, 2017, and the date
of the jury’s decision.

Answer: $ 120, OO «a0

2. Lost benefits sustained between March 14, 2017, and the date
of the jury’s decision.

Answer: $ "22, OOO. OO

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If you answered “yes” to Question 5, then answer Question 14, If you
answered “yes” to Question 6, then answer Question 14. If you answered
“yes” to Question 7, then answer Question 14.

Otherwise, skip to Question 15,

Question 14 — Noneconomic Damages Against Local 556 for Title
VII Claims

What sum of money, if paid now in cash, would fairly and
reasonably compensate Plaintiff Carter for her emotional distress, pain
and suffering inconvenience, mental anguish, and loss of enjoyment of
life Defendant Local 556 caused Plaintiff Carter?

Answer in dollars and cents for the following items and none other:

1. Past pain and suffering, inconvenience, mental anguish,
and loss of enjoyment of life.

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2, Future pain and suffering, inconvenience, mental anguish,
and loss of enjoyment of life.

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If you answered “yes” to Question 5, then answer Question 15. If you
answered “yes” to Question 6, then answer Question 15. If you answered
“ves” to Question 7, then answer Question 15.

Otherwise, skip to Question 17.

Question 15 — Punitive Damages Against Local 556 for Title VIL
Claims

Do you find that Plaintiff Carter should be awarded punitive
damages against Defendant Local 556 for violating Plaintiff Carter’s
religious rights under Title VII?

Answer “yes” or “no”

Answer: _Y 25

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_ If you answered. “yes” to Question 19, then answer Question 16. If
you answered “no” to Question 15, skip to Question 17.

Question 16 — Punitive Damages Against Local 556 for Title VII
Claims

What sum of money should be assessed against Defendant Local
556 as punitive damages against Local 556 for violating Plaintiff Carter's
religious rights under Title VII?

Answer in dollars and cents.

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Tf you answered “yes” to Question 5, then answer Question 17. If you
answered “yes” to Question 6, then answer Question 17, If you answered
“yes” to Question 7, then answer Question 17.

Otherwise, skip to Question 19.

Question 17 — Nominal Damages Against Local 556 for Title VIL
Claims

Do you find that Plaintiif Carter should be awarded nominal
damages against Defendant Local 556 for violating Plaintiff Carter's
religious rights under Title VII?

Answer “Yes” or “No.”

Answer: _/\/@

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If you answered “yes” to Question 17, then answer Question 18. If
you answered “no” to Question 17, skip to Question 19.

Question 18 — Nominal Damages Against Local 556 for Title VII
Claims

What sum of money should be assessed against Defendant Local
556 as nominal damages against Local 556 for violating Plaintiff Carter's
religious rights under Title VII?

Answer in dollars and cents. »

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If you answered “yes” to Question 2, then answer Question 19. If you
answered “no” to Question 2, skip to Question 21.

Question 19 — Nominal Damages Against Local 556 for Duty of Fair
Representation Claim

Do you find that Plaintiff Carter should be awarded nominal
damages against Defendant Local 556 for violating its Duty of Fair
Representation owed to Plaintiff Carter?

Answer “Yes” or “No.”

Answer: IN O

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If you answered “yes” to Question 19, then answer Question 20. If
you answered “no” to Question 19, skip to Question 21,

Question 20 —Nominal Damages Against Local 556 for Duty of Fair
Representation Claim

What sum of money should be assessed against Defendant Local
556 as nominal damages against Local 556 for violating its Duty of Fair
Representation owed to Plaintiff Carter?

Answer in dollars and cents.

go N/A

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If you answered “yes” to Question 3 and “no” to Question 4, then
answer Question 21. Otherwise, skip to Question 23.

Question 21 — Nominal Damages Against Local 556 for Railway
Labor Act Retaliation Claim

Do you find that Plaintiff Carter should be awarded nominal
damages against Defendant Local 556 for retaliating against Plaintiff
Carter for exercising her rights under the Railway Labor Act?

Answer “Yes” or “No.”

Answer: | VO

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If you answered “yes” to Question 21, then answer Question 22. If
you answered “no” to Question 21, skip to Question 28.

Question 22 — Nominal Damages Against Local 556 for Railway
Labor Act Retaliation Claim

What sum of money should be assessed against Defendant Local
556 as nominal damages against Local 556 for retaliating against
Plaintiff Carter for exercising her rights under the Railway Labor Act?

Answer in dollars and cents.
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If you answered “yes” to Question 2, then answer Question 23, If you
answered “yes” to Question 3 and “no” to Question 4, then answer
Question 23. If you answered “yes” to Question 5, then answer Question
23. If you answered “yes” to Question 6, then answer Question 23. If you
answered “yes” to Question 7, then answer Question 28.

Otherwise, skip to Question 24.

This is a question for the Court on which the Court seeks the jury's
advice.

Question 23 — Front Pay Damages Against Local 556

What sum of money, if paid now in cash, would fairly and
reasonably compensate Plaintiff Carter for future lost wages, if any,
Defendant Local 556 caused Plaintiff Carter?

Answer in dollars and cents.
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B. Southwest Damages Questions

If you answered “yes” to Question 8 and “no” to Question 9, then
answer Question 24. If you answered “yes” to Question 10, then answer
Question 24. If you answered “yes” to Question 11 and “no” to Question
12, then answer Question 24.

Otherwise, skip to Question 29.

Question 24 — Lost Wages Damages Against Southwest

What sum of money, if paid now in cash, would fairly and
reasonably compensate Plaintiff Carter for lost wages and benefits, if
any, Defendant Southwest caused Plaintiff Carter? Answer in dollars
and cents for the following items and none other.

1. Lost wages sustained between March 14, 2017, and the date
of the jury’s decision.

Answer: $_| 2 Oo, DOOD OO

2. Lost benefits sustained between March 14, 2017, and the date
of the jury's decision.

Answer: $ 92, 0008-00

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If you answered “yes” to Question 10, then answer Question 25, Lf
you answered “yes” to Question 11 and “no” to Question 12, then answer
Question 25.

Otherwise, skip to Question 26.

Question 25 — Noneconomic Damages Against Southwest for Title
VII Claims

What sum of money, if paid now in cash, would fairly and
reasonably compensate Plaintiff Carter for her emotional distress, pain
and suffering inconvenience, mental anguish, and loss of enjoyment of
life Defendant Southwest caused Plaintiff Carter?

Answer in dollars and cents for the following items and none other:

1. Past pain and suffering, inconvenience, mental anguish,
and loss of enjoyment of life.

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2. Future pain and suffering, inconvenience, mental anguish,
and loss of enjoyment of life.

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If you answered “yes” to Question 10, then answer Question 26. If
you answered “yes” to Question 11 and “no” to Question 12, then answer
Question 26.

Otherwise, skip to Question 28.

Question 26 — Punitive Damages Against Southwest for Title VII
Claims

Do you find that Plaintiff Carter should be awarded punitive
damages against Defendant Southwest for violating Plaintiff Carter's
religious rights under Title VII?

Answer “Yes” or “No.”

Answer: ie S

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If you answered “yes” to Question 26, then answer Question 27. If
you answered “no” to Question 26, skip to Question 28.

Question 27 — Punitive Damages Against Southwest for Title VII
Claims

What sum of money should be assessed against Defendant
Southwest as punitive damages against Southwest for violating Plaintiff
Carter’s religious rights under Title VII?

Answer in dollars and cents.

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If you answered “yes” to Question 10, then answer Question 28. If
you answered “yes” to Question 11 and “no” to Question 12, then answer

Question 28.
Otherwise, skip to Question 30.

Question 28 — Nominal Damages Against Southwest for Title Vil
Claims

Do you find that Plaintiff Carter should be awarded nominal
damages against Defendant Southwest for violating Plaintiff Carter's
religious rights under Title VII?

Answer “Yes” or “No.”

Answer: \/ ©

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If you answered “yes” to Question 28, then answer Question 29. If
you answered “no” to Question 28, skip to Question 30.

Question 29 — Nomina] Damages Against Southwest for Title Vil
Claims

What sum of money should be assessed against Defendant
Southwest as nominal damages against Southwest for violating Plaintiff
Carter’s religious rights under Title VII?

Answer in dollars and cents.

s__/A

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If you answered “yes” to Question 8 and “no” to Question 9, then

answer Question 30. Otherwise, skip to Question 82.

Question 30

Do you find that Plaintiff Carter should be awarded nominal
damages against Defendant Southwest for retaliating against Plaintiff
Carter for engaging in activity protected by the Railway Labor Act?

Answer “Yes” or “No.”

Answer: Nob

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Tf you answered “yes” to Question 30, then answer Question 31. If
you answered “no” to Question 80, skip to Question 32.

Question 31

What sum of money should be assessed against Defendant
Southwest as nominal damages against Southwest for engaging in
activity protected by the Railway Labor Act?

Answer in dollars and cents.

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If you answered “yes” to Question 8 and “no” to Question 9, then
answer Question 32. If you answered “yes” to Question 10, then answer
Question 32. If you answered “yes” to Question 11 and “no” to Question
12, then answer Question 82.

Otherwise, skip to Question 33.

This is a question for the Court on which the Court seeks the jury's
advice.

Question 32 — Front Pay Damages Against Southwest

What sum of money, if paid now in cash, would fairly and
reasonably compensate Plaintiff Carter for future lost wages, if any,
Defendant Southwest caused Plaintiff Carter?

Answer in dollars and cents.

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C. Mitigation Questions
Question 33

Do you find that Plaintiff Carter failed to reduce her damages
through the exercise of reasonable diligence in seeking, obtaining, and
maintaining substantially equivalent employment after the date of her
employment termination by Defendant Southwest?

Answer “Yes” or “No.”

Answer: M 3

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Question 34

How much would Plaintiff Carter have earned had she exercised

reasonable diligence under the circumstances to minimize her
damages?

Answer in dollars and cents, if any.

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Jury Foreperson

pate: 7/4/2022

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